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                UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                       AUSTIN DIVISION


MWK RECRUITING, INC,

         Plaintiff

         v.

EVAN P. JOWERS,                          Case No. 1:18-cv-00444-RP

         Defendants



EVAN P. JOWERS,

         Counterclaimant

         v.

MWK RECRUITING, INC.,
ROBERT E. KINNEY,
KINNEY RECRUITING LLC, and
KINNEY RECRUITING LIMITED,

         Counterdefendants


 NOTICE OF MWK’S SECOND AMENDED OBJECTIONS TO JOWERS’S
                   PROPOSED EXHIBITS
             Case 1:18-cv-00444-RP Document 325 Filed 12/02/21 Page 2 of 30




I.       Introduction

         With the table that follows, MWK amends its previously filed objections to

Jowers’s proposed exhibits. As of this filing, Jowers still has not provided PDF copies

of his proposed exhibits with the following numbers: D-20, D-128, D-191, D-193, D-

194, D-228, D-250, D-306, D-308, D-309, D-310, D-316, D-317, D-321, D-325, D-326,

D-332, D-333, D-336. MWK has identified the documents intended by Jowers to be

used as exhibits, but may need to amend these objections further when legible copies

have been provided.

II.      Table of Exhibits and Objections

Objection Key:
      Numerical objections refer to the Federal Rules of Evidence
      CI –       MWK is unable to identify this exhibit or the exhibit was not
                 previously produced.
      UI –       This exhibit is wholly unrelated to the triable issues in this case.
      UB –       This exhibit relates to unpaid bonuses, a matter that has been
                 adjudicated.
      RRC –      This exhibit relates to retroactive reduction of commissions, a matter
                 that has been previously adjudicated.
      PE –       This exhibit relates to Jowers’s promissory estoppel claims, which have
                 been previously adjudicated.
      TiL –      This exhibit relates to Jowers’s Truth in Lending and related claims,
                 which have been previously adjudicated.
      HKE –      This exhibit relates to Jowers’s Hong Kong expenses claims, which
                 were not properly disclosed and have been omitted from the pretrial
                 order.
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Exh. #.     Title Assigned by Jowers                           Objections

            2004-02-26 Articles of Incorporation of
D-1
            Recruiting Partners, Inc.

            2004-04-09 Assumed Name Certificate for
            Filing with the Secretary of State Recruiting
D-2
            Partners, L.P. assumed Kinney Recruiting
            L.P.

            2006-04-24 Email from Kinney to Jowers
D-3         Subject Re: the ultimat result of lawlaterals is
            to promote Kinney Recruiting

            2006-05-01 Evan Jowers Associate Recruiter
D-4         Employment Agreement with Kinney
            Recruiting L.P. Dkt. 80-1

            2006-05-03 Email from Jowers to Kinney
D-5
            Subject: Leopard’s List

            2006-05-23 Email from Jowers to Kinney
D-6         Subject: RE: let's chat this evening (how about
            6:40pm?)

            2006-05-24 Email from Jowers to Kinney
D-7         Subject: RE: Kirkland & Ellis to open in Hong
            Kong

            2006-06-16 Email from Jowers to Kinney
            Subject: FW: Fwd: Hong Kong US based firms
D-8
            seek US corporate associates (no language
            required)

            2006-06-30 Email from Jowers to Kinney
D-9
            Subject: derivatives CA

            2006-07-01 Email from Jowers to Kinney
D-10
            Subject: RE: elg / lawlaterals

            2006-09-18 Email from Jowers to Kinney
D-11        Subject: RE: Holzman Offer and your
            Incentive

            2006-10-04 - Certificate of Formation of
D-12
            Sommers Accounting, LLC



NOTICE OF MWK’S 2ND AMENDED OBJECTIONS TO JOWERS EXHIBITS                   PAGE | 2
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Exh. #.     Title Assigned by Jowers                        Objections

            2006-10-28 Email from Jowers to Kinney
D-13
            Subject: RE: minor expenses for October

            2006-11-10 Email from Jowers to Kinney
            Subject: FW: LAUREN WALZ -'04 UTexas
D-14
            venture capital / corporate associate from
            Latham & Watkins

            2006-12-16 Evan Jowers Employment
D-15
            Agreement

            2007-02-20 - Renee F. Sommers LLC
D-16
            Certificate of Amendment (Name Change)

            2007-03-09 – Recruiting Partners GP, Inc.
D-17        Texas Franchise Tax Public Information
            Report Filing No. 800312489

            2007-12-31 – Assignment of Employment and
D-18        Other Agreements by Kinney Recruiting, L.P.
            to Recruiting Partners GO, Inc. Dkt. 80-3

            2007-12-31 Dissolution of Recruiting Partners
D-19
            LP

            2007-12-31 Recruiting Partners L.P.
D-20
            Voluntarily Terminated Screenshot

            2008-02-21 Email from Kinney to Jowers
D-21        Subject: Re: any news re abovethelaw.com?
            (MWK- 004170)

            2008-06-16 Email from Jowers to Kinney
D-22
            Subject: Re: Peter Gutensohn (MWK-005254)

            2008-06-16 Email from Jowers to Kinney
D-23
            Subject: Re: Peter Gutensohn (MWK-005256)

            2008-06-16 Email from Jowers to Kinney
D-24
            Subject: Re: Peter Gutensohn (MWK-005258)

            2008-06-16 Email from Jowers to Kinney
D-25
            Subject: Re: Peter Gutensohn (MWK-005259)




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Exh. #.     Title Assigned by Jowers                     Objections

            2008-06-16 Email from Jowers to Kinney
D-26
            Subject: Re: Peter Gutensohn (MWK-005260)

            2008-06-16 Email from Kinney to Jowers
D-27
            Subject: Re: Peter Gutenson (MWK-005257)

            2008-06-17 Email from Jowers to Kinney
D-28
            Subject: Re: Peter Gutensohn (MWK-005261)

            2008-06-17 Email from Jowers to Kinney
D-29
            Subject: Re: Peter Gutensohn (MWK-005262)

            2008-06-17 Email from Jowers to Kinney
D-30
            Subject: Re: Peter Gutensohn (MWK-005266)

            2008-06-17 Email from Jowers to Kinney
D-31
            Subject: Re: Peter Gutensohn (MWK-005267)

            2008-06-17 Email from Jowers to Kinney
D-32
            Subject: Re: Peter Gutensohn (MWK-005268)

            2008-07-06 Email from Kinney to Jowers
D-33        Subject: Fwd: Special Asia Advertising -
            Exhibit A Amendment
            2008-07-09 Email from Jowers to Kinney
D-34        Subject: RE: Note Added – George Wilkinson
            (MWK- 005539)

            2008-07-16 Email from Kinney Subject: Note
D-35        Added – Job: #15475 – Peter Gutensohn
            (MWK-005654)

            2008-07-28 Email from Jowers to Kinney
D-36
            Subject: RE: ATL article

            2008-07-28 Email from Kinney to Jowers
D-37
            Subject: Re: atl articles

            2008-07-29 Email from Jowers Subject: Re
D-38
            Note Added - James Lin (MWK-005954)




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Exh. #.     Title Assigned by Jowers                      Objections

            2008-07-29 Email from Kinney to Jowers
D-39        Subject: Re Note Added - James Lin (MWK-
            005944)

            2008-08-04 Email from Jowers to Gutensohn,
D-40        Kinney Subject: RE: Checking in (MWK-
            006007)

            2008-08-04 Email from Jowers to Gutensohn,
D-41        Kinney Subject: RE: Arthur Nathan; Haynes
            & Boone (MWK- 006011)

            2008-08-04 Email from Kinney to Gutensohn
D-42
            Subject: Re: Checking in (MWK-006001)

            2008-08-06 Email from Kinney to Jowers
D-43        Subject: Fwd: Spoke with Evan (MWK-
            006027)
            2008-08-06 Email from Kinney to Roark,
D-44        Holzman, Jowers, Rea Subject: Craig Bergez;
            Porter & Hedges, Houston (MWK- 006023)

            2008-12-17 Email from Kinney to Jowers
D-45
            Subject: Re: Phil Culhane

            2008-12-30 Email from Kinney to Jowers
D-46
            Subject: Fed: Steven’s dough (MWK- 008450)

            2009-01-06 Email from Drew Prisner Subject:
D-47
            Re: (MWK-008561)

            2009-01-06 Email from Peter Gutensohn to
D-48        Daniel, Drew, Yuliya, CC’d Robert Kinney
            (MWK-008551)

            2009-01-28 New Asia Plan for 2009 (MWK-
D-49
            150634)

            2009-01-28 Re_New Asia Plan for 2009
D-50
            (MWK-150635)

            2009-01-29 Email from Jowers to Kinney        401, 402, 403, 802,
D-51
            Subject: spoke with Alexis                    UI



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Exh. #.     Title Assigned by Jowers                     Objections

            2009-01-29 Email from Kinney to Jowers
D-52
            Subject: RE: New Asia Plan for 2009

            2009-01-29 Re_New Asia Plan for 2009
D-53
            (MWK-150638)

            2009-04-21 Email from Gutensohn to Kinney
D-54
            Subject: DLA HK (MWK- 010269)

            2009-05-13 Email from Gutensohn to Kinney
            CC’d Recruiters Subject: RE: Management
D-55
            Lesson (not PC, but important to remember,
            especially for lawyers) (EJOW0000055407)

            2009-09-16 Email from Jowers to Kinney
D-56
            Subject: RE: New Asia Plan for 2009

            2009-09-16 Re_New Asia Plan for 2009
D-57
            (MWK-151780)

            2009-09-30 Immigration Department, the
D-58        Government of the Hong Kong Special Admin
            Region (MWK- 113155)

            2010-03-12 Chat with Robert Kinney (MWK-
D-59
            138362)

            2010-03-16 Chat with Robert Kinney (MWK-
D-60
            164377)

            2010-05-18 Email from Kinney to Lamb and
D-61        CC’d Jowers Subject: Re: Check deposited –   401, 402, 403, 802
            next visa steps

            2010-06-17 Email from Kinney to Jowers
D-62                                                     401, 402, 403, 802
            Subject: alexis trainin

            2010-10-07 Alexis Lamb Associate Recruiter
D-63
            Employment Agreement (MWK048025)

            2011-04-19 Re_ here comes some frustration
D-64
            for you that i tried to avoid (MWK-140534)

            2011-04-20 Chat with Robert Kinney (MWK-
D-65
            140548)



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Exh. #.     Title Assigned by Jowers                    Objections

            2011-11-06 Email from Kinney to Jowers
D-66
            Subject: Re: Our offer!

            2011-11-30 Evan Jowers Commission
D-67
            Spreadsheet (MWK-163409)

D-68        2012 Loans Outstanding (MWK-043064)

            2012 Original Loan Before Promissory Note
D-69
            Interest Calculation (MWK-164673)

            2012-02-22 Email from Kinney to Sommers
D-70
            Subject: Re: Evan Loan (MWK-176782)

D-71        2012-02-22 Evan Loan (MWK-176777)

            2012-04-02 Loan to Evan - 20,000 at 17%
D-72
            (MWK- 176804)

            2012-04-11 Email from Kinney to Sommers
D-73        Subject: $42,500 received in HK from
            Kirkland (MWK- 176825)

D-74        2012-04-13 Re_Seton Gala (MWK-164499)

            2012-05-11 Email from Kinney to Sommers
D-75        Subject: Re: How Much to pay Evan (MWK-
            176915)

            2012-05-17 Email from Kinney to Sommers
D-76
            Subject: Re: 5/15 paystub (MWK-042216)

            2012-05-17 Email from Kinney to Sommers
D-77
            Subject: Re: 5/15 paystub (MWK-176933)

            2012-05-29 Email from Sommers to Kinney
            Subject: [blank], Attachments:
D-78
            peter5.31pay.pdf; evanpay5.31.pdf;
            evanloanat5.31.pdf; (MWK- 176958)




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Exh. #.     Title Assigned by Jowers                          Objections

            2012-07-02 Email from Kinney to Sommers
D-79        Subject: Re: shouldn't I have received 9k after
            taxes on this paycheck? (MWK-177044)

            2012-08-09 Email from Lamb to Gutensohn,
D-80        Kinney Subject: Re: Update from Joe B. At
            Jones Day Singapore (MWK-177099)

            2012-08-10 Email from Sommers to Gardner,
                                                              401, 402, 403, 802,
D-81        Lamb and CC’d to Kinney Subject: RE: Fw: o
                                                              UI
            k: Fw: Michael Qiao's case (MWK- 177117)

            2012-08-28 Email from Gutensohn to Carr,
D-82        Kinney Subject: Re: from Joshua; update on
            Kung-Wei Liu (MWK-177203)

            2012-09-13 - Certificate of Formation of
D-83
            Counsel Unlimited LLC

            2012-09-13 Email from Kinney to Sommers
D-84
            Subject: Re: Evan Pay(MWK- 177285)

            2012-09-13 Email from Kinney to Sommers
D-85
            Subject: Re: Evan Pay (MWK- 177288)

            2012-09-18 Email from Kinney to Sommers
D-86        and CC’d Gutensohn Subject: Fwd: crisis
            issue (MWK-177322)

            2012-10-10 Email from Kinney to Sommers
D-87        Subject: Re: Naveen Pogula placement (MWK-
            177368)

            2012-10-10 Email from Kinney to Sommers,
D-88        CC’d Matthew Subject: Re: Naveen Pogula
            placement (MWK-177364)

            2012-10-15 Security Agreement ( MWK-
D-89
            000037)

            2012-10-16 Assignment of Employment and
D-90        Other Agreements by Kinney Recruiting, Inc.
            Dkt. 78-7




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Exh. #.      Title Assigned by Jowers                      Objections

             2012-11-01 Evan P. Jowers Promissory Note
D-91
             (MWK- 000012)

             2012-11-27 Separation Agreement between
D-92
             Kinney Recruiting Linited and Alexis Lamb

             2012-11-29 CUL Line of Credit Agmt (MWK-
D-93
             000018)

             2012-11-30 Jowers Commission Spreadsheet
D-94
             (MWK-048429)

             2012-12-27 Re_FW_Evan Bonus (MWK-
D-95
             177484)

             2012-12-28 Docusign Certificate of
D-96         Completion re Evan Jowers 2012 Forgivable
             Loan Docs (MWK-000058)

             2012-12-28 Email from Sommers to Kinney
D-97         Subject: RE: Update on Cash after Payroll
             (MWK-164527)

             2012-12-31 Email from Kinney to Gutensohn,
D-98         Jowers Subject: Josh looking for a paycheck
             (EJOW0000222564)

             2012-9-26 CUL EIN (Michelle Kinney Sole
D-99
             Member) (MWK- 047434)

             2013-05-29 Email from Kinney to Gutensohn
D-100
             Subject: Re: payroll (MWK- 177707)

             2013-05-29 Email from Kinney to Gutensohn
D-101
             Subject: Re: payroll (MWK- 177708)

             2013-06-06 Email from Kinney to Sommers
D-102        Subject: Re: Evan Interest Credit (MWK-
             164538)

             2013-06-06 Re_Evan Interest Credit (MWK-
D-103
             177719)




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Exh. #.      Title Assigned by Jowers                       Objections

             2013-06-12 Email from Gutensohn to Kinney
             Subject: Re: because the market is so hot, I
D-104
             recommend you allow josh to call for me for
             one month (MWK-177725)

             2013-06-25 Re_E-Ticket Confirmation-
D-105
             EKBPOQ 10JUN (MWK-177759)

             2013-07-26 Email from Sommers to Wong
                                                            401, 402, 403, 802,
D-106        Subject: RE: Kinney Recruiting Ltd. Audit
                                                            UI
             2012 (MWK-177786)

             2013-5-16 Email from Kinney to Sommers
                                                            401, 402, 403, 802,
D-107        Subject: Re: Commission Spreadsheet (MWK-
                                                            UB
             055092)

             2014-03-15 Email from Kinney to Gutensohn,
D-108
             Jowers Subject: Meetings (MWK- 077518)

             2014-04-28 Email from Kinney to Sommers        401, 402, 403, 802,
D-109
             Subject: Re: Payroll (MWK- 178196)             UI

             2014-05-28 Email from Kinney to Sommers
D-110                                                       401, 402, 403, 802
             Subject: RE: Evan (MWK- 178227)

             2014-08-22 Email from Kinney to Jowers,
D-111        Gutensohn Subject: Fwd: updated info for
             payment to Joshua Carr (EJOW0000146122)

             2014-10-21 Re_can we have a phone chat
                                                            401, 402, 403, 802,
D-112        during your Monday Texas Time (MWK-
                                                            901
             178378)

             2014-11-12 Email from Kinney to Sommers
D-113                                                       401, 402, 403, 802
             Subject: Re: Payroll Questions (MWK-178425)

             2014-12-31 - Counsel Unlimited Public
D-114
             Information Report

             2014-12-31 - Counsel Unlimited Public
D-115
             Information Report

D-116        2015-03-23 Loan for Evan (MWK-178740)




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Exh. #.      Title Assigned by Jowers                       Objections

D-117        2015-03-23 Re_Loan for Evan (MWK-178743)       802

             2015-03-26 Email from Jowers to Kinney
D-118        Subject: Yes, please give me my draw end of
             month (MWK- 000337-MWK000340)

             2015-03-27 Re_Yes, please give my draw end
D-119
             of month (MWK-178767)

             2015-03-27 Rwd_Yes, please give me my draw
D-120
             end of month (MWK-178759)

             2015-03-31 Email from Kinney to Sommers
D-121
             Subject: $3000 (MWK- 178778)

             2015-03-31 Email from Kinney to Sommers
D-122
             Dkt. 259- 14

             2015-04-09 Email from Kinney to Sommers
D-123
             Subject: Loan to Evan (MWK- 178787)

D-124        2015-05-12 Re_EVAN Payroll (MWK-178811)        802

             2015-05-26 Re_Can you send me 12k today
D-125                                                       802
             (MWK-178837)

             2015-06-17 Article Published on Above the
D-126        Law: Kinney’s Evan Jowers Now Permanently 401, 402, 403, 802,
             Based In Hong Kong                        901

             2015-07-24 Email from Kinney to Sommers
                                                            401, 402, 403, 802,
D-127        Subject: Re: Commission/Loans - Cash Flow
                                                            UI
             (MWK-178915)

                                                            401, 402, 403, 802,
D-128        2015-08-04 401K Loan (MWK-178961)
                                                            UI

             2015-08-04 Email from Sommers to
             “Distributions Request” CC’d Kinney Subject:   401, 402, 403, 802,
D-129
             Re: Loan for employee at Kinney Recruiting     UI
             (MWK-178957)




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Exh. #.      Title Assigned by Jowers                       Objections

             2015-08-07 Email from Kinney to Lai, CC’d
                                                            401, 402, 403, 802,
D-130        Tan, Wong, Jowers Subject: Re: Work Visa
                                                            PE
             (MWK-111563)

                                                            401, 402, 403, 802,
D-131        2015-08-08 Re_Work Visa (MWK-111620)
                                                            PE

                                                            401, 402, 403, 802,
D-132        2015-08-10 Re_Work Visa (MWK-111670)
                                                            PE

                                                            401, 402, 403, 802,
D-133        2015-08-20 Re_Work Visa (MWK-112284)
                                                            PE

                                                            401, 402, 403, 802,
D-134        2015-08-20 Re_Work Visa (MWK-112332)
                                                            PE

                                                            401, 402, 403, 802,
D-135        2015-08-20 Re_Work Visa (MWK-112336)
                                                            PE

                                                            401, 402, 403, 802,
D-136        2015-08-21 Re_Work Visa (MWK-112352)
                                                            PE

                                                            401, 402, 403, 802,
D-137        2015-08-30 Re_Work Visa (MWK-112754)
                                                            PE

                                                            401, 402, 403, 802,
D-138        2015-08-31 Re_Work Visa (MWK-112761)
                                                            PE

             2015-09-07 Email from Wong to Kinney, CC’d     401, 402, 403, 802,
D-139
             Jowers, Tan Lai Subject: Re: Work Visa         PE
                                                            401, 402, 403, 802,
D-140        2015-09-07 Re_Work Visa (MWK-113154)
                                                            PE

                                                            401, 402, 403, 802,
D-141        2015-09-07 Re_Work Visa (MWK-113159)
                                                            PE

                                                            401, 402, 403, 802,
D-142        2015-09-07 Re_Work Visa (MWK-113167)
                                                            PE

             2015-09-09 Re_funds I need for Swiss holiday
D-143
             (MWK- 178983)

             2015-09-22 Email from Kinney to Sommers
D-144                                                       401, 402, 403, HKE
             Dkt 259-6



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Exh. #.      Title Assigned by Jowers                       Objections

             2015-10-06 Email from Kinney to Gutensohn,
D-145        Jowers Subject: Re: A&O asked me to go after
             Eugene Lee and He Li (EJOW0000188324)

                                                            401, 402, 403, 802,
D-146        2015-10-10 Re_Work Visa (MWK-115356)
                                                            PE

                                                            401, 402, 403, 802,
D-147        2015-10-10 Re_Work Visa (MWK-115366)
                                                            PE

             2015-10-12 Fwd_RE_Work Visa (MWK-              401, 402, 403, 802,
D-148
             115433)                                        PE

                                                            401, 402, 403, 802,
D-149        2015-10-12 Re_Work Visa (MWK-115398)
                                                            PE

                                                            401, 402, 403, 802,
D-150        2015-10-12 Re_Work Visa (MWK-115400)
                                                            PE

                                                            401, 402, 403, 802,
D-151        2015-10-12 Re_Work Visa (MWK-115428)
                                                            PE

                                                            401, 402, 403, 802,
D-152        2015-10-12 Re_Work Visa (MWK-115429)
                                                            PE

             2015-10-12 through 2015-11- 05 Emails          401, 402, 403, 802,
D-153
             between Jowers and Kinney Dkt. 259-11          PE

             2015-10-15 Re_can you please wire me 5k on
D-154
             Monday US time (MWK-114984)
                                                            401, 402, 403, 802,
D-155        2015-10-15 Re_RE_Work Visa (MWK-115635)
                                                            PE

                                                            401, 402, 403, 802,
D-156        2015-10-20 Re_RE_Work Visa (MWK-115937)
                                                            PE

                                                            401, 402, 403, 802,
D-157        2015-10-22 Re_RE_Work Visa (MWK-116273)
                                                            PE

             2015-10-24 Evan needs work Visa (MWK-          401, 402, 403, 802,
D-158
             116424)                                        PE

                                                            401, 402, 403, 802,
D-159        2015-10-24 Re_RE_Work Visa (MWK-116413)
                                                            PE



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Exh. #.      Title Assigned by Jowers                       Objections

                                                            401, 402, 403, 802,
D-160        2015-10-24 Re_RE_Work Visa (MWK-116416)
                                                            PE

                                                            401, 402, 403, 802,
D-161        2015-11-03 Re_Re_Work Visa (MWK-116916)
                                                            PE

             2015-11-05 Barnes Complaint Case No.           401, 402, 403, 802,
D-162
             BC600371                                       901, UI
                                                            401, 402, 403, 802,
D-163        2015-11-11 Re_RE_Work Visa (MWK-179211)
                                                            PE

             2015-11-12 Email from Kinney to Jowers
D-164        Subject: Re: sorry about my emails re bonus,
             etc. (MWK-117430)

             2015-11-21 Email from Kinney to Sommers
                                                            401, 402, 403, 802,
D-165        Subject: Re: EARLY CLOSE DATE FOR
                                                            UB
             NOVEMBER 30 (MWK-179304)

D-166        2015-11-5 Evan needs Visa (MWK-117002)         401, 402, 403, 802

             2015-12-02 Re_ crazy I know, but can you
D-167
             wire me 8k before end of week (MWK-118085)

             2015-3-23 charging 17% per month (MWK-
D-168
             178740)

D-169        2015-3-23 Wire (MWK- 178742)                   802

             2015-6-13 Jowers Moving Soon to HK (MWK-
D-170                                                       401, 402, 802
             178890

D-171        2015-8-5 Housing Costs HK (MWK-055092)         401, 402, 403, 802

             2015-9-22 I scheduled Evan's October rent to
D-172                                                       401, 402, 403, HKE
             be paid on the 26th to the Four Seasons

             2016- 12-13 Email from Kinney to Sommers
D-173        Subject: Re: Evan Bonus (MWK- 180000)
             Duplicate D-45?

             2016 MWK Recruiting 401(K) Plan Summary
D-174
             Plan Description (MWK-120277)



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Exh. #.      Title Assigned by Jowers                       Objections

             2016-02-03 Email from Jowers to Sommers
             CC’d Kinney, Gardner Subject: Re: My W2
D-175
             has some strange address in FL as my
             address

             2016-03-24 Emails between Kinney and
D-176
             Jowers 259-12

             2016-03-24 Re_Can we move forward with
D-177
             work visa next week (MWK-123831)

             2016-05-11 - Counsel Unlimited LLC tax
D-178
             Filing

             2016-06-02 Email from Gutensohn to Kinney,
D-179        Jowers Subject: Re: What's up w Gutensohn      401, 402, 403, 802
             deals? (EJOW0000270739)

             2016-08-16 Email from Kinney to Sommers
             Subject: Re: the below analysis of my
D-180                                                       401, 402, 403, 802
             spreadsheet (and additional facts) has me at
             about $230,000 in the black (MWK-179828)

             2016-08-17 Email from Kinney to Sommers
             Subject: Re: the below analysis of my
D-181                                                       401, 402, 403, 802
             spreadsheet (and additional facts) has me at
             about $230,000 in the black

             2016-09-20 Email from Kinney to Sommers
D-182                                                       401, 402, 403, 802
             Subject: Money for Evan (MWK-179888)

             2016-10-06 Email from Jowers to Sommers
             Subject: Re: Invoice from Kinney Recruiting
D-183
             Limited for the placement of Jacqueline Tang
             (MWK-135114)

             2016-10-18 Email from Kinney to Jowers,
                                                            401, 402, 403, 802,
D-184        Sommers Subject: Re: Re: Four Seasons Place
                                                            HKE
             - Extension of Room 5242 (MWK-135549)

             2016-10-26 Email from Kinney to Sommers
D-185        Subject: Re: Hong Kong Money (MWK-
             179946)




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Exh. #.      Title Assigned by Jowers                        Objections

             2016-10-26 Email from Kinney to Sommers
             Subject: Fwd: pipeline, request fro funds for
D-186
             my 6 week holiday coming up. (MWK-
             179948)

             2016-10-26 Email from Kinney to Sommers
D-187        Subject: EVAN STATUS FINANCIAL -
             Invitation to edit (MWK-179952)

             2016-10-26 Payroll Preview Details (MWK-
D-188
             179945)

             2016-11-22 Email from Kinney to Jowers
D-189        Subject: Invoice from Kinney Recruiting         401, 402, 403, 802,
             Limited for the placement of Hui Xu             901

             2016-12-13 Email from Kinney to Sommers
D-190
             Subject: Re: Evan Bonus (MWK-180000)

             2016-12-13 Emails between Kinney and            DUPLICATE OF D-
D-191
             Sommers Dkt. 259-8                              190

             2016-12-14 Email from Kinney to Sommers
D-192        Subject: Re: Evan Status for Next Pay Period    401, 402, 403, 802
             (MWK-180006)
             2016-12-14 Email from Sommers to Kinney
D-193        Subject: Re: Evan Status for Next Pay Period    401, 402, 403, 802
             (MWK- 180008-MWK-180009)

             2016-12-14 Emails between Kinney and
D-194                                                        401, 402, 403, 802
             Sommers Dkt. 259-10

             2016-12-14 Re_Evan Status for Next Pay
D-195                                                        802
             Period (MWK- 180003)

             2016-12-14 Re_Evan Status for Next Pay
D-196                                                        802
             Period (MWK- 180004)

             2016-12-15 Email from Sommers Subject:
                                                             401, 402, 403, 802,
D-197        401K Plan Disclosures for 2016/2017 (MWK-
                                                             UI
             136863)




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Exh. #.      Title Assigned by Jowers                          Objections

             2016-12-15 Evan Jowers Commission                 401, 402, 403, 802,
D-198
             Spreadsheet                                       901
             2016-12-16 Email from Jowers to Sommers
D-199        Subject: Re: question re this pay period          401, 402, 403, 802
             (MWK-136925)

             2016-12-16 Email from Kinney to Jowers
             Subject: Re: with a heavy heart, I am going to
D-200        have to resign now (at least temporarily, until   401, 402, 403
             we can figure out a more fair arrangement)
             (MWK-136904)

             2016-12-16 Question re this pay period
D-201
             (MWK-136917)

             2016-12-16 Re_ question re this pay period
D-202                                                          802
             (MWK- 136922)

             2016-12-23 Fwd_Fw_Re_ Resume and Deal
D-203
             Sheet (MWK-180083)

             2016-12-23 Fwd_Resume and Deal Sheet
D-204
             (MWK-180036)

             2016-12-23 Fwd_Resume and Deal Sheet
D-205
             (MWK-180040)

             2016-12-24 FWD_Fw_Re_Resume and Deal
D-206
             Sheet (MWK-136993)

             2016-12-24 Re_Fw_Re_Resume and Deal
D-207
             Sheet (MWK-136994)

             2016-12-24 Re_Fw_Re_Resume and Deal
D-208
             Sheet (MWK-136995)

             2016-12-24 Re_Simply not convinced the '06
D-209        agreement is enforceable
             (DLAREL0000050076)

             2016-12-24 Re_Simply not convinced the '06
D-210        agreement is enforceable
             (DLAREL0000050077)




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Exh. #.      Title Assigned by Jowers                       Objections

             2016-12-24 Re_Simply not convinced the '06
D-211        agreement is enforceable
             (DLAREL0000050078)

             2016-12-24 Simply not convinced the '06
D-212        agreement is enforceable
             (DLAREL0000050068)

             2016-12-26 Blue logo -jowers- small.jpg
D-213
             (DLAREL0000050155)

             2016-12-26 Fiduciary duties owed by
D-214        employees under FL law
             (DLAREL0000050107)
             2016-12-26 Of course, on our next call I can
D-215        give you a list of all live candidates
             (DLAREL0000050162)
             2016-12-26 Re_Fiduciary duties owed by
D-216        employees under FL law
             (DLAREL0000050116)

             2016-12-26 Re_Fiduciary duties owed by
D-217        employees under FL law
             (DLAREL0000050117)

             2016-12-26 Re_Fiduciary duties owed by
D-218        employees under FL law
             (DLAREL0000050157)

             2016-12-26 Re_Fiduciary duties owed by
D-219        employees under FL law
             (DLAREL0000050158)

             2016-12-26 Re_Fiduciary duties owed by
D-220        employees under FL law
             (DLAREL0000050159)

             2016-12-26 Re_Fiduciary duties owed by
D-221        employees under FL law
             (DLAREL0000050160)




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Exh. #.      Title Assigned by Jowers                      Objections

             2016-12-26 Re_Fiduciary duties owed by
D-222        employees under FL law
             (DLAREL0000050166)

             2016-3-21 Wire (Revolving Loan) ( MWK-
D-223
             123627 )

D-224        2016-3-24 Still no Work Visa (MWK-123831)

             2016-6-8 (Four Seasons Interest Free) (MWK-   401, 402, 403, 802,
D-225
             179759)                                       HKE

             2016-6-8 (Four Seasons Interest Free)(MWK-    401, 402, 403, 802,
D-226
             179759)                                       HKE

             2016-7-16 Invoice No. 88437 from Kinney
D-227        Recruiting Limited to Davis Polk & Wardwel
             (MWK-132030)

             2016-8-17 Four Seasons Status (MWK-           401, 402, 403, 802,
D-228
             164652)                                       HKE

             2016-8-19 Email from Jowers to Yeung, CC’d
                                                           401, 402, 403, 802,
D-229        Sommers, Kinney Subject: Jing Kang
                                                           RRC
             placement (MWK-132032)

             2016-8-19 Invoice No. 88440 from Kinney
D-230        Recruiting Limited to Kirkland & Ellis        401, 402, 403, RRC
             (MWK-134802)

             2016-9-26 Payment of Four Seasons (MWK-
D-231                                                      401, 402, 403, HKE
             134752)

             2017-01-01 MWK Recruiting 401(K) Plan
D-232
             Annual Notice

             2017-01-02 Fwd_Resume and Deal Sheet
D-233
             (MWK-180080)

             2017-01-03 Fwd_FW_please sign off on my
                                                           401, 402, 403, 802,
D-234        401k distribution form (thanks!) (MWK-
                                                           UI
             180101)




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Exh. #.      Title Assigned by Jowers                       Objections

             2017-01-05 Email from Jowers to Sommers
             Subject: Fwd: Your Itinerary for Hong Kong,
D-235                                                       401, 402, 403, HKE
             Hong Kong - Nov 02, 2013 (Itinerary
             #21168892346) (MWK- 137036)

             2017-01-05 Email from Jowers to Sommers
D-236        Subject: Fwd: YOUR ITINERARY: 17MAR            401, 402, 403, HKE
             SHA HKG – ZMNZBW (MWK- 137035)

             2017-01-05 Email from Jowers to Sommers
D-237        Subject: Fwd: E. JOWERS 03- 15-14 Itinerary    401, 402, 403, HKE
             (MWK- 137034)

             2017-01-09 Email from Vilaseca to Support,
             Jowers and CC’d Sommers Subject: RE:
D-238
             please sign off on my 401k distribution form
             (thanks!) (MWK-180175)

             2017-01-10 Re_Visit in Hong Kong (MWK-
D-239
             180203)

             2017-01-11 Email from Kinney to David
D-240
             Blumental

             2017-01-11 RE_Visit in Hong Kong (MWK-
D-241
             180214)

             2017-01-11 Re_Yufei Li placement still up in
D-242
             the air (MWK-180221-MWK- 180230)

             2017-01-19 Email from Kinney to Gordon
D-243        Subject: Follow Up (MWK- 180281-MWK-
             180282))

             2017-01-31 Assignment of Notes, Security
D-244
             Agreements, and Claims Dkt. 80-7

             2017-02-10 Email from Sommers to Jowers
D-245
             Subject: W-2

             2017-03-27 MWK Recruiting LLC Original
D-246        Verified Petition and Application for
             Injunctive Relief Dkt. 1-2




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Exh. #.      Title Assigned by Jowers                      Objections

             2017-05-10 - Counsel Unlimited LLC Tax
D-247
             Filing

             2017-05-10 - Counsel Unlimited LLC Tax        403, Duplicate of D-
D-248
             Filing                                        247

             2017-05-10 - Counsel Unlimited LLC Tax        403, Duplicate of D-
D-249
             Filing.PDF                                    247

             2017-07-20 Email from Kinney Subject:
             Placements by Evan Jowers, Yuliya             401, 402, 403, 901,
D-250
             Vinokurova, et al. (MWK-180283-MWK-           UI
             180284)

             2017-07-24 Email from Everett Johnson to
             Robert Kinney Subject: RE: Placements by
D-251
             Evan Jowers, Yuliya Vinokurova, et al.
             (MWK- 180286-MWK-180287)

             2017-11-28 Fwd_Meng Ding Placement Fee
D-252
             (MWK- 180294)

             2017-11-28 Meng Deng Placement Fee (MWK-
D-253
             180290)

             2017-11-29 Re_Meng Ding Placement Fee
D-254
             (MWK- 180298-MWK-180301)

             2017-11-29 RE_Meng Ding Placement Fee
D-255
             (MWK- 180302)

             2017-12-03 Re_Meng Ding Placement Fee
D-256
             (MWK- 180305)

             2017-12-05 RE_Meng Ding Placement Fee
D-257
             (MWK- 180312)

             2017-12-06 Meng Ding - Fee Issue in Hong
D-258
             Kong (MWK- 180315)

             2018-02-19 Re_Meng Ding - Fee Issue in Hong
D-259
             Kong (MWK-180321)

             2018-05-31 Re_Meng Ding - Fee Issue in Hong
D-260
             Kong (MWK-180328)



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Exh. #.      Title Assigned by Jowers                       Objections

             2018-06-07 Re_Meng Ding - Fee Issue in Hong
D-261
             Kong (MWK-180330)

             2018-06-29 Plaintiff’s First Amended
D-262
             Complaint Dkt. 13

             2018-08-24 - Dec. of Kinney ISO Pltfs
D-263
             Response to Defs MTD Dkt, 35-5

             2018-08-24 – Declaration of Robert E. Kinney
D-264
             ISO Pltfs Response to Defs MTD Dkt. 35-5

             2019-03-06 - MWK Entities’ Supplemental
             Brief ISO Standing and Jurisdiction
D-265
             Responses to Defendant/Counterclaimant’s
             First Set of Interrogatories Dkt. 73

             2019-03-06 - Supp. Dec. of Kinney ISO MWK's
D-266        Supplemental Brief ISO Standing and
             Jurisdiction Dkt, 73-1

             2019-03-25 Declaration of Evan P. Jowers
D-267
             Dkt. 80-11

             2019-03-25 Plaintiff’s Second Amended
D-268
             Complaint Dkt. 80

             2019-09-09 Email from Gutensohn to Jowers      401, 402, 403, 802,
D-269
             Subject: Fwd: Agreement Proposal from REK      901, UI, CI

             2019-09-16 - Counsel Unlimited LLC Tax         401, 402, 403, 802,
D-270
             FIling                                         901

                                                            401, 402, 403, 802,
             2019-09-16 - Counsel Unlimited LLC Tax
D-271                                                       901, duplicate of D-
             Filing
                                                            270

                                                            401, 402, 403, 802,
             2019-09-16 - Counsel Unlimited LLC Tax
D-272                                                       901, duplicate of D-
             FIling
                                                            270

             2020-02-04 - Kinney's VERIFICATION of
D-273
             Response to Jowers' First Rogs




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Exh. #.      Title Assigned by Jowers                       Objections

             2020-02-04 - Kinney's VERIFICATION of          403, duplicate of D-
D-274
             Responses to Jowers' First Revised Rogs        273

             2020-02-04 - MWK's Verification to Responses   403, duplicate of D-
D-275
             to Jower's First Revised Set of Rogs           273

             2020-03-25 - Dec. of Kinney ISO MWK's
D-276        Motion to Compel Production of Documents
             Dkt, 143-1

             2020-03-25 - Dec. of Kinney ISO MWK's
                                                            403, duplicate of D-
D-277        Motion to Compel Production of Documents
                                                            276
             Dkt. 143-1

             2020-04-15 - Dec. of Kinney ISO MWK's Reply
             to Jowers and Kirkland Responses to MTC
D-278
             and Response to Kirkland Motion to Quash
             Dkt, 160-1

             2020-04-30 Email from Kinney to Bookhout
D-279        CC’d Bernardo, Katz, Mort, Loanzon Subject:
             Loan Accounting and Reply to your Letter

             2020-07-06 - Dec. of Kinney ISO Response to
D-280        Jowers' Motion to Enforce Protective Order
             Dkt. 182-1

             2020-07-06 - Dec. of Kinney ISO Response to
                                                            403, duplicate of D-
D-281        Jowers' Motion to Enforce Protective Order
                                                            280
             Dkt. 182-1

             2020-07-07 - Dec. of Kinney ISO MWK's
             Response to Jowers' Motion to Resolve
D-282
             Disputed Confidentiality Obligations Dkt,
             183-1

             2020-07-07 - Dec. of Kinney ISO MWK's
             Response to Jowers' Motion to Resolve          403, duplicate of D-
D-283
             Disputed Confidentiality Obligations Dkt.      282
             183-1

             2020-07-14 - MWK's Dec. of Kinney in
D-284
             Support of Opp. to Jower's MJOP Dkt. 187-1




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Exh. #.      Title Assigned by Jowers                      Objections

             2020-07-14 - MWK's Dec. of Kinney in          403, duplicate of D-
D-285
             Support of Opp. to Jower's MJOP Dkt. 187-1    284

             2020-07-22 Declaration of Peter Gutensohn     401, 402, 403, 802,
D-286
             Dkt. 192-1                                    901

             2020-07-23 - MWK's Dec. of Kinney ISO Reply
D-287        on Motion for Entry of Amended Scheduling
             Order Dkt. 193-1

             2020-07-23 - MWK's Dec. of Kinney ISO Reply
                                                         403, duplicate of D-
D-288        on Motion for Entry of Amended Scheduling
                                                         287
             Order Dkt. 193-1

             2020-07-24 - MWK's Supp Responses to
D-289
             Jowers' Interrogatories 1-23

             2020-07-24 - MWK's VERIFICATION of
D-290
             Interrogatories 1-23

             2020-07-24- Kinney Declaration w. Exhibits
D-291
             Dkt. 194-1

             2020-07-24- Kinney Declaration w. Exhibits    403, duplicate of D-
D-292
             Dkt. 194-1                                    291

             2020-09-03 - MWK's Responses and
D-293
             Objections to 3rd interrogatories

             2020-10-15 - Dec. of Kinney ISO MWK's
D-294        Response to Jowers' MTC Answers to Rogs 23-
             24 and RFPs 151-160 Dkt. 209-1

             2020-10-15 Dec. of Kinney ISO MWK's
                                                         403, duplicate of D-
D-295        Response to Jowers' MTC Answers to Rogs 23-
                                                         294
             24 and RFPs 151-160 Dkt. 209-1

             2020-10-16 Declaration of Renee Sommers
D-296                                                      401, 402, 403, 802
             Dkt. 210-1

             2020-10-23 Kinney Entities’ Second Revised
D-297
             Initial Disclosures

             2020-10-26 Jowers Timeline of Kinney          401, 402, 403, 802,
D-298
             Entities                                      901



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Exh. #.      Title Assigned by Jowers                      Objections

             2020-11-08 PPP Screen Shot taken at 1.29.43   401, 402, 403, 802,
D-299
             PM                                            901

             2020-11-23 - Supp VERIFICATION of
D-300
             Interrogatories

D-301        2020-11-23 Accounting for Jowers Loans

             2020-11-23 -MWK Entities’ Verification of
D-302
             Interrogatory Responses

             2020-12-31 Email from Kinney to Tauler,
             CC’d Mort, Loanzon, Saryan, Stein Subject:
D-303
             Issues Raised by Court in its December 18
             Order (Only 2007 Asssignment Found)

             2021-01-01 - MWK's Formal Resp to Jowers's
D-304
             5th RFP (161) (Verified)

             2021-01-04 - MWK's Supp Resp to RFPs re
D-305
             Assignment Docs w Verification

             2021-03-20 MWK Entities’ Verification of
D-306        Interrogatory Responses and Supplemental
             Responses DKt. 266-26

D-307        About Kinney Recruiting (MWK-111568)          802

             Accounting for Loans to Evan Jowers from
D-308
             September 30, 2016-Present Dkt, 259-17
             Accounting for Loans to Evan Jowers from
D-309
             September 30, 2016-Present Dkt, 259-18

             Accounting for Loans to Evan Jowers from
D-310
             September 30- 2016 to Present Dkt. 266-5

D-311        Accounting Loans to Evan Jowers

D-312        Alexis Lamb Offer of Employment Letter

             Associate Recruiter Employment Agreement
D-313
             (MWK-111565)




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Exh. #.      Title Assigned by Jowers                         Objections

             Associate Recruiter Employment Agreement
D-314
             Exhibit A (MWK-111564)

             Austin, TX Code of Ordinances Chapter 4-12
                                                              401, 402, 403, 802,
D-315        Registration of Credit Services Organizations
                                                              901, TiL
             and Credit Access Businesses

             Chapter 4-12.- Registration of Credit Services
                                                              401, 402, 403, 802,
D-316        Organizations and Credit Businesses Dkt.
                                                              901, TiL
             259-16

             Chart showing commission earned by Jowers
             in the years 2014, 2015, 2016 and under the
                                                              401, 402, 403, 802,
D-317        2006 Agreement, the commission actually
                                                              901, RRC
             earned by Jowers in those three years, and
             the difference in those amounts Dkt. 259-15

             Counsel Holdings, Inc. Organizational
D-318
             Structure

             Counsel Unlimited _ Website Kinney               401, 402, 802, 901,
D-319
             Recruiting Screenshot                            UI

             Email from Jowers to Kinney Subject: Chat
D-320                                                         401, 402, 403, 901
             with Robert Kinney

             Email Subject: Re: Patton Boggs gossip           401, 402, 403, 802,
D-321
             (MWK-174057)                                     901, UI

D-322        Evan Jowers 2016 W2

             Evan Jowers Associate Recruiter Employment
D-323
             Agreement with Kinney Recruiting Limited

D-324        Evan Jowers Commission Spreadsheet

             Evan Jowers Commission Spreadsheets for
D-325
             the years 2015 and 2016 Dkt. 259-4

             Evan Jowers Hong Kong Contract
D-326                                                         401, 402, 403
             (MWK111565)

D-327        Evan Jowers Loan Balances (MWK-164647)           401, 403, 802, 901




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Exh. #.      Title Assigned by Jowers                        Objections

             Evan P. Jowers Request for Judicial Notice
             RE: Motion for Partial Judgement on the
D-328
             Pleadings Pursuiant to FRCP 12©(Dkt.177)
             Dkt. 206

             Exhibit 222 to Sommers Depo Spreadsheets
             Descriptions: Original Loan Before
D-329
             Promissory Note, Revolving Line of Credit-
             Accounting; Evan Jowers Forgivable Loan;

D-330        Exhibit A - Evan Jowers Known Placements        403, 901

D-331        Four Seasons Payment for Evan Jowers            403, 901

D-332        Holzman Contract MWK- 008451

D-333        Hong Kong Contract Exhibit A (MWK111564)

             Loan Accounting Document Exhibit B – 3d
D-334        Revised Initial Disclosures – Kinney Entities   403, 901
             (MWK-1646673?)

             MWK Entities’ Supplemental Responses To
D-335        Defendant/Counterclaimant’s First Set Of
             Interrogatories

D-336        Spreadsheets produced by Plaintiff Dkt. 259-9

             2017-01-06 Email thread Subject: Re: Follow
D-337
             Up Message from Kinney (EJ0037491)
             2016-11-07 Latham and Watkins Fee               401, 402, 403, 802,
D-338
             Agreement – Partner Hiring (LW-0041)            901

             2017-03-01 Email thread Subject: RE: Steve      401, 402, 403, 802,
D-339
             Sha (LW00582)                                   901, UI

             2017-03-01 Email thread Subject: Steve Sha
                                                             401, 402, 403, 802,
D-340        statement re Robert Kinney submission
                                                             901, UI
             (LW00601_0001)

             2017-01-05 Email thread Subject: Re: these
             are the live candidates (not submitted          401, 402, 403, 802,
D-341
             through Kinney) off the top of my head….        901, UI
             (MWK-0180148)



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Exh. #.      Title Assigned by Jowers                     Objections

             2015-08-05 Email thread Subject: Re:
                                                          401, 402, 403, 802,
D-342        checking in re tax issue on my temporary
                                                          901, UI
             housing in HK (MWK-111325)

             Various Kinney Recruiting Limited Invoices
D-343
             2016




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Dated: December 2, 2021                 Respectfully Submitted

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